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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF NEW YORK

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IN RE 461 7 TH AVE MARKET, INC.
                                                              18-22671-RDD
                     Debtor.
                                                                Chapter 11


461 7TH AVE MARKET, INC., and
YOUNG IL PARK,

                     Plaintiffs,                        Adv. Pro. No. 18-08265-rdd
       vs.

DELSHAH 461 7TH AVENUE, LLC,                            Declaration of Jay Cho, RA
DELSHAH CAPITAL, and MICHAEL
SHAH,

                     Defendants.

       JAY CHO, of age, declares under penalty of perjury pursuant to 28 U.S.C. 1746:

       1. I am a registered architect and I make this declaration concerning certain facts

that are disputed between the parties in this action.

       2. In the defendants’ Motion to Dismiss the Adversary Proceeding, there are

factual misstatements of some significance. Defendants’ motion asserts:

              8. Nonetheless, the Supreme Court gave the Debtor one last chance
       to cure the lease defaults by submitting a proper self-certifying so-called


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       Alt-2 application to the DOB within a month. Thus, by order dated
       February 16, 2018, the Supreme Court denied Landlord’s motion to vacate
       the Yellowstone injunction, and instead ruled that the Yellowstone
       injunction would be extended one last time to March 15, 2018 at which
       time it would expire. Silverbush Declaration, Exhibit G.

              9. Two weeks later, the Debtor submitted a defective Alt-2
       application to the DOB. On March 1, 2018, two weeks before the
       expiration of the Yellowstone injunction, the DOB rejected Debtor’s
       submission. Remarkably, the Debtor failed to re-submit a proper Alt-2
       application. Nor did the Debtor seek an extension of the Yellowstone
       injunction. Since the Debtor neither re-submitted its Alt-2 application, nor
       sought a further extension of time to cure, nor appealed the Supreme
       Court’s February 16, 2018 order, the Yellowstone injunction expired on
       March 15, 2018.

               10. While the Landlord’s January 2017 Notice to Cure required the
       Debtor to cure before February 28, 2017, the Yellowstone injunction tolled
       the Debtor’s time to cure. When the Supreme Court first entered its
       injunction, the Debtor still had six days left to cure. After the Yellowstone
       injunction terminated on March 15, the six-day clock began ticking again;
       that is, after the Yellowstone injunction expired on March 15, the Debtor
       still had six days remaining in the cure period, from March 15, 2018 to
       March 21, 2018. Despite the foregoing, Debtor again failed to cure and
       again failed to seek a new Yellowstone injunction, thereby willfully
       allowing the cure period to expire. The Landlord served a termination
       notice on March 23, 2018 (the “Termination Notice”) setting an April 12,
       2018 Lease termination date. Silverbush Declaration, Exhibit H.

       3. These statements are essentially erroneous; and the statement that our Alt-2

plans were “defective” is flatly wrong. A complete package was properly filed by me.

On February 15, 2018, Justice Sherwood extended the Yellowstone injunction until

March 15, 2018, and directed us to file a completed package of Alt-2 alteration plans. As

the retained architect of record, I updated the plans that had been ready to be filed since

the prior year, and filed them on February 27, 2018. Plaintiffs’ first amended complaint



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states:

                  34. On February 27, 2018, plaintiffs’s architect Jay Cho filed Alt-2
          plans well ahead of the March 15 deadline, for a full DOB plan review. The
          landlord sent a letter to the DOB on March 8, in order to interfere with the
          filing. Exhibit 9. Had it not been for the defendants’ interference and
          harassment, the filed plans would have encountered no problem with the
          DOB.

                  35. On February 27, 2018, soon after architect Jay Cho effectuated
          the filing, the DOB website shows that a complete (“ENTIRE”) application
          package had been deemed filed:




                 36. Defendants were to have refrained from interfering and harassing
          the tenant. Instead, on March 8, 2018, they wrote a letter on a Delshah
          Capital letterhead and told the DOB that there had been pre-existing
          violations on the property going as far back as 2005. Defendants filed the
          Delshah Capital letter to circumvent the Supreme Court’s rulings based
          upon all of the evidence, and the defendant persisted in attempting to
          overturn the Supreme Court’s ruling by further actions taken in the DOB.

          4. Contrary to defendants’ assertion that the DOB, on its own, disapproved our

Alt-2 plans, the DOB repeatedly tried to grant approval except that the building owner

kept insisting that “it never approved the plans.”

          5. On March 9, 2018, I came to receive the DOB’s Notice of Objections letter with

disapproved our Alt-2 plans first time when I went to the DOB to pick up the application

folder:




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      6. The arrow above the date of “03/09/2018,” is how the DOB logged its

disapproval with objections on our plans. March 9, 2018, is the date when I was first

notified that there were “objections” on the file, and I went to the DOB to pick up the

folder to review the objections.    It was then, for the first time, that the DOB had

disapproved the plans I filed on February 27, 2018.

      7. I came to learn after March 9, 2018, that the owner had sent a letter to the DOB

on March 8, 2018, stating that the owner would not approve our plans, which had been

filed on February 27, 2018, by direction of Justice Sherwood on February 15, 2018.

      8. It is my understanding that the new owner will not approve anything that has

been done to cure alleged renovation issues on the premises, and has been insisting that

the cure go back years. This is not feasible and therefore Justice Sherwood directed us to


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file complete plans using the Alt-2 method, which specifically did not require the owner’s

signature.

       9. What is before the Court is not whether we complied with Justice Sherwood’s

directions; we did. What is before the Court is the owner’s ongoing interference with the

DOB permit process, as outlined in the plaintiffs’ first amended complaint. The new

owner does not want the delicatessen to remain a tenant under any condition.

       10. Just to be sure, it bears emphasizing that this delicatessen has never been cited

for any DOB violation. There has never been any life or safety issue. The tenant has

always been punctual with rent payments and the discharge of its responsibilities. I am

prepared to attend any hearing to testify to all of my efforts to regarding the permit

process and I can say unequivocally that the only reason our Alt-2 filed on February 27,

2018, was “disapproved” by the DOB was because the new building owner “refused its

approval,” according to the DOB, and that refusal was because the owner wants the

building restored to a prior state. Had the owner not interfered with the DOB permit

process after we filed a complete application on February 27, 2018, the plans would have

been approved within weeks if not days. All opinion stated in this declaration are stated

within a reasonable degree of professional certitude.



Dated: July 3, 2018
                                                   JAY CHO, RA
                                                   KLC Architects, PC
                                                   180 Maiden Lane, Suite8A
                                                   New York, NY 10038


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